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    1                         UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
    2                                MIAMI DIVISION
                            CASE NO. 08-20574-CRIMINAL-LENARD
    3

    4    UNITED STATES OF AMERICA,                 Miami, Florida

    5                       Plaintiff,             September 17, 2010

    6                vs.                           9:08 a.m. to 1:00 p.m.

    7    RALPH MERRILL,

    8                   Defendant.          Pages 1 to 39
         ______________________________________________________________
    9

   10
                             NON-TESTIMONIAL EXCERPTS FROM THE
   11                                   JURY TRIAL
                           BEFORE THE HONORABLE JOAN A. LENARD,
   12                          UNITED STATES DISTRICT JUDGE

   13

   14    APPEARANCES:

   15
         FOR THE GOVERNMENT:             ELOISA FERNANDEZ, ESQ.,
   16                                    ADAM SCHWARTZ, ESQ., and
                                         FRANK TAMEN, ESQ.
   17                                    ASSISTANT UNITED STATES ATTORNEYS
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   18                                    Miami, Florida 33132

   19
         FOR THE DEFENDANT:              PETER STIRBA, ESQ., and
   20                                    NATHAN A. CRANE, ESQ.
                                         STIRBA & ASSOCIATES
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   22

   23    REPORTED BY:                    LISA EDWARDS, CRR, RMR
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    1               THE COURT:    Good morning.    You may be seated.

    2               United States of America versus Ralph Merrill, Case

    3    No. 08-20574.

    4               Counsel, state your appearances, please, for the

    5    record.

    6               You can be seated.

    7               MR. SCHWARTZ:    Good morning, your Honor.

    8               Adam Schwartz and Frank Tamen and Eloisa Fernandez on

    9    behalf of the United States.

   10               THE COURT:    Good morning.

   11               MR. STIRBA:    Peter Stirba and Nathan Crane on behalf

   12    of Mr. Merrill.

   13               And Mr. Merrill is present, your Honor.

   14               THE COURT:    Good morning.

   15               THE DEFENDANT:    Good morning.

   16               MR. CRANE:    Good morning.

   17               THE COURT:    I believe we're still waiting for jurors.

   18    Is that correct?

   19               THE COURT SECURITY OFFICER:       Yes.

   20               THE COURT:    There are some issues regarding the

   21    e-mails that I wanted to take up while we have the opportunity.

   22               Mr. Packouz, could you step outside, please, sir.

   23                (Thereupon, the witness retired from the courtroom

   24    and the following proceedings were had:)

   25               THE COURT:    I reviewed all of the e-mails last evening
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    1    that Mr. Tamen indicated that he intends to go forward with

    2    today.    And I believe, first of all, that there are some that

    3    may not be in evidence.      So I want to review those first.

    4                Let me ask this question:     What's the Government's

    5    position as far as Ylli Pinari and his status?

    6                MR. TAMEN:   Judge, Ylli Pinari is an Albanian national

    7    who is --

    8                THE COURT:   I know who he is.

    9                What is his status as far as the Government's theory

   10    is concerned?

   11                MR. TAMEN:   At some point, he learns that the

   12    Government cannot buy Communist Chinese munitions.          He becomes

   13    a co-conspirator because he is continuing to provide Chinese

   14    ammunition and is aware that it's all being repackaged.

   15                That would have been sometime in May after Alex

   16    Podrizki goes to Albania and finds that there are Chinese

   17    markings throughout the packaging.

   18                THE COURT:   That would have been in May?

   19                MR. TAMEN:   Yes.

   20                THE COURT:   And what are the dates on EM 144 and 149,

   21    please?

   22                MR. TAMEN:   EM 144 is dated April 26th, and EM 149 is

   23    dated April 27th.

   24                THE COURT:   Okay.   So there are a number of e-mails

   25    that Mr. Tamen indicated yesterday at the close of business
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    1    that he intended to be going into today, and they are not in

    2    evidence.    That would be 144, 149, 163, 176, 178, 179, 198 and

    3    200.

    4                The second category is then there are some e-mails

    5    that were admitted into evidence, but they fall within the

    6    third category, which is third-party e-mails.

    7                First would be EM 13.     So 13, 48, 88, 90, 94 and 109.

    8    So let's take up 13.     That was also an e-mail that Mr. Stirba

    9    included in his memorandum.

   10                On what basis does EM 13 come into evidence?

   11                MR. TAMEN:   Judge, this is Category II.      In accordance

   12    with the Court's ruling, that information provided to the

   13    Defendant regarding available supplies goes to the knowledge

   14    that the Defendant had of what could be provided at what price

   15    from whom.

   16                THE COURT:   Under what rule does it fall?

   17                MR. TAMEN:   It's evidence that shows the Defendant's

   18    knowledge.    It's relevant evidence because it's not hearsay.

   19    It's information that was communicated to him to show that he

   20    had the opportunity to find sources of munitions that were not

   21    illegal.     So it goes to his criminal intent.

   22                THE COURT:   Well, I know why you want to get it in,

   23    the probative value, and I know it's relevant.          But it's an

   24    out-of-court statement.

   25                How does it come in?
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    1               MR. TAMEN:    Because it's not being offered to prove

    2    the truth of the matter asserted.       It's being offered to show

    3    what information was available to the Defendant for him to

    4    choose to act upon it.

    5               Even if the sender of this e-mail never intended to

    6    fulfill that contract, the fact is the Defendant received this

    7    offer and chose not to follow up on it, chose not to seek out

    8    this particular source.

    9               THE COURT:    So your position is that it's not coming

   10    in for the truth of the matter asserted?

   11               MR. TAMEN:    That's correct.

   12               It's coming in to show information that was provided

   13    to the Defendant, which he chose not to act upon, because,

   14    instead, he chose to act in violation of the law.

   15               It also shows his participation in the bidding process

   16    in obtaining prices for different types of munitions.           It shows

   17    he was actively involved in the acts leading up to the

   18    conspiracy.

   19               It's basically inextricably intertwined, that he's

   20    involved in the contract and the activities of AEY that went

   21    toward getting the bid accepted by the Government.          The

   22    suppliers are communicating with him as well as AEY.

   23               THE COURT:    What's your position, Mr. Stirba?

   24               MR. STIRBA:    Well, in addition to the memo, Judge, we

   25    do think it's -- first of all, there is an issue of --
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    1                THE COURT:    Well, it's not clear to me what your

    2    position is in the memo.      So I need you to state clearly your

    3    position.

    4                MR. STIRBA:   Absolutely.

    5                The first problem is we have no evidence about who

    6    Talon, Ltd., is or the purported sender, who is a gentleman

    7    under the Regards portion of the e-mail.

    8                There's nobody that can authenticate that this

    9    actually came from anybody related to Talon, who that is, what

   10    that is.    That's the first problem.

   11                The second problem is it is hearsay, Judge, in our

   12    view, and it does not appear to have any requisite foundational

   13    predicate that would allow it to come in under any rule.

   14                And, third --

   15                THE COURT:    What is coming in for the truth of the

   16    matter asserted in that e-mail?

   17                MR. STIRBA:   That he is informing them of certain

   18    price quotes, which are truthfully represented as being quotes

   19    of the business, and attached to it are those quotes.           And,

   20    obviously, they're being presented as evidence of the accuracy

   21    of what Talon is offering at this time.

   22                I couldn't see any reason how you would offer it if

   23    those numbers and the quotes and the representations are not

   24    salient.

   25                The final thing I would say in terms of reliance, the
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    1    reliance sort of analysis, based upon something that is

    2    otherwise maybe not hearsay because you rely on it:            The law

    3    says you have to rely on it and do something in reliance on it.

    4    The law does not say your failure to act is reliance on a

    5    document.    That's not the way it is.

    6                You have to actually do something in reliance on the

    7    information given.       And, apparently, that didn't happen because

    8    they never did this transaction.

    9                MR. TAMEN:    With regard to the question of who the

   10    sender is, Mr. Packouz will testify that Shmuel Avivi was one

   11    of the suppliers of munitions that AEY dealt with and that --

   12                THE COURT:    Who?

   13                MR. TAMEN:    The person where it says Regards.

   14                THE COURT:    Oh, okay.   Shmuel Avivi.    Okay.

   15                MR. TAMEN:    -- that he was one of the people that AEY

   16    dealt with, that he was a supplier.        There was some discussion

   17    about him.

   18                So there will be testimony to further lay a foundation

   19    for who this person is and what Talon, the company, involved

   20    was and its relevance to their effort to obtain the bid from

   21    the Army.

   22                MR. STIRBA:    But under the DC court case, your Honor,

   23    that's not really the foundation.       If you're presenting an

   24    e-mail that has an address, there has to be some way to

   25    authenticate that that address relates to some purported
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    1    sender.

    2                We have no information and nobody knows and nobody can

    3    testify as to this e-mail address, who it is, who's behind --

    4                THE COURT:    Well, he just said Packouz is going to

    5    testify as to the person identified in the e-mail as being a

    6    supplier and connected with Talon, Limited.

    7                MR. STIRBA:   Yeah.   And I don't think that's what is

    8    required.

    9                He has to show -- we're trying to figure out Talon,

   10    Ltd., that address -- the e-mail address, is it linked in some

   11    manner to a person and who that person may be.

   12                Absent a foundation that you know of an account or an

   13    e-mail address or there's some indication that is related in

   14    some manner to somebody, we do not know who the purported

   15    sender is and there's nothing to indicate that on the face of

   16    the document other than to say there's a signature.

   17                Nobody's going to testify as to the account.        It's

   18    different than the other e-mails where there actually were

   19    search warrants issued to Google.       They have related them to

   20    certain addresses.

   21                THE COURT:    Well, this was from the search warrant;

   22    was it not?

   23                MR. TAMEN:    Yes.

   24                MR. STIRBA:   But the search warrant -- there's no

   25    testimony and there's nothing that avers or allows what Talon,
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    1    Ltd. -- who that address is linked to.

    2               The affidavit in support of the search warrant does

    3    not say that.    It says it with respect to some other accounts,

    4    but it doesn't say anything with respect to this account.

    5               That's what the Court indicated in a DC case is at

    6    least a threshold showing you have to make.

    7               THE COURT:    Regarding EM 13, based upon the proffer by

    8    the Government as to the testimony that they expect to elicit

    9    from Packouz, with that information, which will then identify

   10    Shmuel Avivi as the general manager of Talon, coupled with the

   11    identifying information on the e-mail in EM 13, which includes

   12    a "cc" to office@talon-sct.com, office@talon-sct.com, as well

   13    as the e-mail which was sent to Efraim Diveroli and Ralph

   14    Merrill, which I've previously found, based upon the evidence

   15    in the record, is sufficient authentication, I find that

   16    there's sufficient authentication for EM 13 and I find that it

   17    is not coming in for the truth of the matter asserted.

   18               And if you request, I will instruct the jury.

   19               MR. STIRBA:    Your Honor, by the way, on a limiting

   20    instruction, I believe we submitted something in writing this

   21    morning, your Honor, that does relate to the photographic

   22    e-mails.

   23               Similarly, with respect to the matters that come in

   24    for the purpose of -- not -- of the truth contained in the

   25    document --
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     1               THE COURT:    Did you give a copy of this to the

     2   Government?

     3               MR. STIRBA:    Yes, we did, your Honor.

     4               THE COURT:    Are these being filed on CM/ECF?

     5               MR. CRANE:    Yes, Judge.    Just because we don't have

     6   access, we send it to local Florida counsel to file that; and

     7   he --

     8               THE COURT:    Okay.   As long as they're being filed.        I

     9   just wanted to make sure.

   10                MR. STIRBA:    Yes, it is.

   11                MR. CRANE:    Yes, your Honor.

   12                THE COURT:    Okay.

   13                MR. STIRBA:    And that just covers photographic.        I

   14    think similarly, with respect to a matter such as this, if it's

   15    not being introduced for the truth of the matter asserted, we

   16    would ask for a limiting instruction with respect to those

   17    e-mails as well.

   18                THE COURT:    What's the Government's position?

   19                MR. SCHWARTZ:    Your Honor, we would object to the

   20    proposed instruction with respect to the photographs because it

   21    specifically says that the photographs attached to the e-mail

   22    exhibits are not being admitted for the truth of the matter

   23    asserted.

   24                In many instances -- for instance, an example is

   25    EM 137, an e-mail sent by Ralph Merrill including different
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     1   wooden crates with scraping tools.        The communicative aspect of

     2   that is being offered for the truth of the matter asserted.            So

     3   if they want to rephrase the language, that would be fine.

     4              But the communication aspects -- if the e-mail itself

     5   is being offered for the truth of the matter asserted through

     6   the Rules of Evidence as either a co-conspirator's statement or

     7   a statement of the Defendant, they are coming in for the truth

     8   of the matter asserted.

     9              I think the gist of their argument is -- what I think

   10    they're really trying to say is, "We're not purporting that the

   11    pictures are actually what was seen in Albania by the -- Alex

   12    Podrizki on that day."

   13               First of all, your Honor, through some foundational

   14    testimony today, that may -- we might have met that burden.

   15    Second of all, your Honor, I don't think it's really necessary

   16    because we're not going to be at this time arguing at all about

   17    that.

   18               So if we can revisit this at the end, at jury

   19    instruction might be the best time.         I don't think it's proper

   20    now.

   21               MR. STIRBA:     Judge, if I may, yesterday, I believe you

   22    cited reference to an '85 Eleventh Circuit case with respect to

   23    this precise issue.

   24               I think the case said --

   25               THE COURT:    Well, that was on authentication.
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     1              MR. STIRBA:     But I think that the language that the

     2   Court read said that the photographs come in with the e-mail as

     3   something that was attached to the e-mail only, that is, that

     4   that's the purpose or that's the showing that's made.

     5              I think that's all that case stands for.         It did not

     6   go in to say then that the photographs, in a traditional sense,

     7   are accurate and fair depictions of the contents of what is

     8   purported in the photograph.

     9              That's why we think a limiting instruction is

   10    appropriate.

   11               And I think that was the basis upon which the Court

   12    allowed the admissibility.

   13               THE COURT:    Well, when photographs are introduced, one

   14    manner of introducing them is to present the photograph to the

   15    witness and have the witness, pursuant to Rule 901,

   16    authenticate the photograph as being a fair and accurate

   17    depiction of what he or she saw at the time.

   18               I have ruled that the photographs that are attached to

   19    the e-mails have been sufficiently authenticated as being

   20    the -- what the proponent seeks to introduce them as, as

   21    photographs that were attached to e-mails, based upon the

   22    testimony of Agent Mentavlos, the stipulation that was

   23    introduced into the record and other evidence in the record,

   24    that these are the photographs that were attached to the

   25    e-mails.
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     1              Separate and apart from that, for instance -- 132 is

     2   it, or what were you --

     3              MR. SCHWARTZ:     137, your Honor, I believe.

     4              THE COURT:    -- 137, which is the photographs that were

     5   attached to the e-mail by Mr. Merrill about -- that at least

     6   raises an information of here's a way to clean the crates

     7   here with the photographs of the cleaning tools and the wooden

     8   crates comes in as an admission.

     9              Separate and apart from the authentication, there must

   10    be an evidentiary ruling as to the photographs themselves.

   11               MR. STIRBA:     And that I agree and I understand.

   12               But with respect to the other photographs, that is,

   13    the Albanian photographs and the Afghani photographs, that's

   14    really what that limiting instruction goes to because there's

   15    nobody who's going to testify that they were present in Albania

   16    or present in Afghanistan and observed what, in fact, was

   17    observed and that those photographs fairly and accurately

   18    depict the condition at the time.

   19               And so, while the foundational requisites --

   20               THE COURT:    You'd have to direct me to specific

   21    photographs that you're referring to.

   22               MR. STIRBA:     I will.

   23               THE COURT:    And Agent Mentavlos -- he was there when?

   24    In August?

   25               MR. SCHWARTZ:     October, your Honor.
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     1               THE COURT:    October.

     2               He certainly testified as to viewing the crates and

     3   the ammunition tins and the markings at that time.

     4               MR. STIRBA:    You're right, Judge.

     5               Let me give you the example, which would be EM 114,

     6   which is an e-mail from Mr. Podrizki to Mr. Packouz.           And it's

     7   attached.    There are five photographs.

     8               THE COURT:    And the e-mail says, "Here are the

     9   pictures.    The one with the green are the tracer rounds.          I

   10    called Pinari, but he isn't answering."

   11                And what's your argument there?

   12                MR. STIRBA:    Those are -- those photographs were sent

   13    by Podrizki, who was in Albania.        And the argument is that

   14    there's no one presently, absent Podrizki, who can testify that

   15    those photographs -- first of all, what they are of and,

   16    secondly, that they fairly and accurately depict what they're

   17    purporting to be depict.

   18                THE COURT:    All right.   And I've ruled that they've

   19    been properly authenticated based upon the rulings that I made

   20    yesterday.    And these would be admissible urged 801(d)(2)(E),

   21    statements made during and in furtherance of the conspiracy by

   22    co-conspirators.

   23                So I want to get started with the jury because we have

   24    a limited amount of time with them today.

   25                So those items that are not in evidence, Mr. Tamen, I
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     1   take it you're not going to take up with the witness.            You had

     2   indicated that you were going to be reviewing those with the

     3   witness, but they're not in evidence.

     4              MR. TAMEN:    They're not in evidence.       If they were on

     5   my list, then, I will probably discuss them with the witness in

     6   order to lay a foundation for their admission.

     7              THE COURT:    Okay.    You may do that.

     8              MR. TAMEN:    Yes.

     9              THE COURT:    And there were some additional third-party

   10    e-mails.    I'm not sure if they're on your list.         No.   They're

   11    not.

   12               So let me just give you a couple of rulings on some of

   13    these particular e-mails so it's clear in the record.

   14               13, as I've indicated, is not coming in for the truth

   15    of the matter asserted and is properly authenticated under 901.

   16               15, there's sufficient 901 authentication.           It comes

   17    under 801(d)(2)(A).      And the Safavian -- I don't know how to

   18    pronounce this case -- 435 F.Supp.2d 36 at -- 435 F.Supp.2d 36,

   19    a 2006 decision by the United States District Court in the

   20    District of Columbia, specifically addresses at Page 41 the

   21    authentication of e-mails that are being forwarded to or by

   22    others or with replies sent.

   23               And based upon my findings of proper authentication, I

   24    find that the forwarded e-mails, also -- the objections go more

   25    to the weight that the jury should give the evidence than to
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     1   them not being admissible as not being properly authenticated.

     2               And 15 would be admissible under 801(d)(2)(A).

     3               EM 37 is admissible under 801(d)(2)(D), an agent

     4   acting during the existence of the relationship and the scope

     5   of the agency relationship, as would EM 46, EM 44, EM 51, which

     6   also includes 801(d)(2)(A); EM 76, 801(d)(2)(D); 109, which is

     7   referenced in Mr. Merrill's memo.

     8               109 would be admissible under 801(d)(2)(E).         And this

     9   applies to a number of the e-mails where there is an earlier

   10    e-mail from someone, either Packouz or Podrizki or Diveroli or

   11    Merrill, from AEY.       And then above that is a response from a

   12    third-party supplier such as, here, Evdin.

   13                Evdin alternatively could be considered an agent as

   14    well.    So the bottom part of that particular e-mail would be

   15    admissible under 801(d)(2)(D).        I find that the last e-mail in

   16    the string of e-mails from Evdin, Limited, is not coming in for

   17    the truth of the matter asserted.

   18                MR. CRANE:    Judge, I'm sorry.     Which e-mail was that?

   19                MR. STIRBA:    109.

   20                THE COURT:    109.

   21                EM 56, citing 801(d)(2)(A), adoption, and (B) -- well,

   22    (B) is adoption and (A) is the party's own statement.           And the

   23    attachment's not coming in for the truth of the matter

   24    asserted.

   25                95, 801(d)(2)(D); 114, 801(d)(2)(E) -- and that's with
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     1   photos -- as well as 115, 801(d)(2)(E); 117, 801(d)(2)(E); 118,

     2   801(d)(2)(E); 116, 801(d)(2)(E).

     3              119, 123, 142, 120, 126 are all admissible under

     4   801(d)(2)(E).

     5              128 is admissible under 801(d)(2)(E) and 801(d)(2)(B).

     6              129, 133, 137, 136, 138, 141, 801(d)(2)(E).          Those are

     7   all 801(d)(2)(E), as well as 146, as well as 148.           151,

     8   801(d)(2)(A); 152, 801(d)(2)(E); 153, 801(d)(2)(A); 157,

     9   801(d)(2)(E); as well as 166, 801(d)(2)(E); 167, 801(d)(2)(E);

   10    175, 801(d)(2)(A).

   11               180, 192 and 195, all 801(d)(2)(E).

   12               And a number of the other e-mails that I did not make

   13    specific citations this morning would fall within the

   14    categories that I cited to you yesterday when -- as to the

   15    various categories, either an admission by the Defendant, a

   16    co-conspirator's statement under 801(d)(2)(E) or not coming in

   17    for the truth of the matter asserted.

   18               We'll have to take up the remaining issues regarding

   19    the e-mails that are not in evidence, since -- many of which I

   20    think are included in the tables that were submitted by

   21    Mr. Merrill.

   22               Let me just give you some rulings in regard to the

   23    tables that I can give you on what was submitted by

   24    Mr. Merrill.

   25               EM 20 comes in under 801(d)(2)(D).        This is a
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     1   forwarded letter.      So it would actually be both (B) and (D).

     2   It's a statement by an agent and the forwarding of the letter

     3   becomes the adoption.      The attachment's not coming in for the

     4   truth of the matter asserted.

     5              EM 21 is also a forwarded message.        It comes in under

     6   801(d)(2)(B) and (D).      And the attachment is not coming in for

     7   the truth of the matter asserted.

     8              EM 41, in which it's titled "First Quote," with an

     9   attached quote from Talon.       The -- the quote's not coming in

   10    for the truth of the matter asserted, but the -- this is not

   11    coming in for the truth of the matter asserted -- this is an

   12    e-mail from AEY, Inc., to Ralph Merrill -- but, rather, to

   13    demonstrate his relationship with the parties and its

   14    involvement in the preparation of the contract.

   15               EM 46 comes in under 801(d)(2)(D), and the attachment

   16    also comes in under 802(d)(2)(D).

   17               EM 47 comes in under 801(d)(2)(B) and (A), as it's a

   18    forwarded quotation.      It's adopted under (B).

   19               EM 102 comes in under 801(d)(2)(D).

   20               EM 126 comes in under 801(d)(2)(E).

   21               EM 128, 801(d)(2)(B) and (E).

   22               EM 129, 801(d)(2)(B) and (E).

   23               EM 131, 801(d)(2)(E).

   24               EM 133, 801(d)(2)(E).

   25               The remaining e-mails, which -- are some of the
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     1   e-mails that I've identified that we need -- still need to take

     2   up.

     3              Okay.    Let's bring in the jury.

     4              (Whereupon, certain proceedings transpired which have

     5   not been requested transcribed, after which the following

     6   proceedings were held:)

     7              THE COURT:    You may be seated.

     8              How is -- how does the Government intend to proceed

     9   concerning the e-mail exhibits that I cited to you this

   10    morning?

   11               I know for some of them that Mr. Tamen had

   12    indicated -- that he indicated yesterday he was going to be

   13    reviewing with the witness and I indicated that they were not

   14    in evidence and he said he was going to seek to lay the

   15    foundation and move to admit them into evidence.           And that's

   16    fine.

   17               And then there were some other exhibits.         We took care

   18    of 13, which is one of the exhibits that he reviewed.           There

   19    was 48, 88, 90, 94 and 109, which I believe come out of the two

   20    tables in the pleading.       I don't have a docket entry number.

   21    At least some of them are included in the tables in the

   22    pleading that Mr. Stirba submitted to the Court yesterday.

   23               And then there's some additional -- okay.          They're

   24    from Table 1.      And there are additional e-mails on the second

   25    table, which would be 127, 132 -- these are all EM numbers --
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     1   134 and 205.

     2              How are you going to proceed regarding the

     3   admissibility of those e-mails?        Do you want to have a chance

     4   to review them and then make your arguments to me?           Do you want

     5   to take them up now?

     6              MR. SCHWARTZ:     Yes, your Honor.     If we could have just

     7   a few minutes.

     8              THE COURT:    All right.    So let's take about -- will

     9   ten minutes be enough time?

   10               MR. SCHWARTZ:     That'd be fine, your Honor.

   11               THE COURT:    We'll take a ten-minute recess.

   12                (Thereupon a recess was taken, after which the

   13    following proceedings were had:)

   14               THE COURT:    We're back on United States of America

   15    versus Ralph Merrill, Case No. 08-20574.

   16               Counsel, state your appearances, please, for the

   17    record.

   18               MR. SCHWARTZ:     Good afternoon, your Honor.

   19               Adam Schwartz, Eloisa Fernandez and Frank Tamen on

   20    behalf of the United States.

   21               MR. STIRBA:     Good afternoon, your Honor.

   22               Peter Stirba and Nathan Crane on behalf of

   23    Mr. Merrill.

   24               And Mr. Merrill is present.

   25               THE COURT:    You may be seated.
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     1               And, actually, I have two more e-mails, 18 and 125,

     2   from the tables in Mr. Merrill's pleading.

     3               How do you want to proceed, Mr. Schwartz?

     4               MR. SCHWARTZ:    We could just go one by one, your

     5   Honor.

     6               THE COURT:   So we're going to start with 48?

     7               MR. SCHWARTZ:    Yes, your Honor.

     8               THE COURT:   Can you bring that up?

     9               MR. SCHWARTZ:    It's right up on the screen.

   10                THE COURT:   Okay.

   11                MR. SCHWARTZ:    Your Honor, our basis for admissibility

   12    would be the same as for Exhibit 13 that we discussed prior to

   13    trial today, especially through the testimony of -- this is not

   14    brought in for the truth of the matter asserted.

   15                It's just showing Merrill's involvement in procuring

   16    different sources of -- during the -- either the solicitation

   17    portion or the early portions of the performance of the

   18    contract.    This is in February of 2007.       So we believe this

   19    falls under the inextricably intertwined.

   20                The e-mail itself is properly authenticated based upon

   21    the "From" and, also, the signature, coupled with the testimony

   22    of David Packouz as to who Talon was.

   23                THE COURT:   Can I see the attachment, please?

   24                MR. SCHWARTZ:    Yes, your Honor.

   25                THE COURT:   Mr. Stirba?
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     1              MR. STIRBA:     Yes, your Honor.

     2              The document that is attached is indeed hearsay.           And

     3   that's the basis --

     4              THE COURT:    Can you move the microphone towards you,

     5   please.

     6              MR. STIRBA:     Yes.    I'm sorry.

     7              The document attached, we believe, is hearsay, your

     8   Honor.    It's a letter from another party who's not going to

     9   testify, to Mr. Diveroli.         Never went to Mr. Merrill.

   10               And even though there is an authentication e-mail

   11    address on the e-mail, I think it's inappropriate, in our view,

   12    to allow the extraneous document to come into evidence.

   13               THE COURT:    I'm going to overrule the objection.

   14               I find that, based upon the evidence in the record,

   15    that the e-mail itself has been properly authenticated pursuant

   16    to Rule 901 and that the substance of the e-mail and the

   17    attachment further goes to substantiate and authenticate the

   18    e-mail coming from Talon Security.

   19               There's already been testimony in the record regarding

   20    Talon and their relationship with AEY and the Defendant.            And

   21    the attachment itself is not coming in for the truth of the

   22    matter asserted and, therefore, is not hearsay.

   23               Next is 88.

   24               MR. SCHWARTZ:     Your Honor, for this e-mail -- and I

   25    think the same analysis we're going to apply as well to, I
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     1   believe, 89 and 109 -- there's two theories of admissibility,

     2   your Honor.

     3              Well, first of all, the e-mail itself, I believe, has

     4   been properly authenticated based upon the testimony of David

     5   Packouz with respect to the -- who is Evdin, who is sending the

     6   e-mail, and that this is, in fact, an e-mail.          So I believe

     7   we've crossed that hurdle.

     8              So the only other issue is the basis for

     9   admissibility.

   10               Your Honor, we believe that this would be admissible

   11    as nonhearsay under 801(d)(2)(D) as a statement of a party's

   12    agent, based upon the testimony of David Packouz that Henri

   13    Thomet and Evdin was a long-time supplier of Ralph Merrill, and

   14    the discussions here are regarding their business relationship

   15    with -- and respect to answering.        I believe, if you go to the

   16    bottom of this e-mail in particular, it's in response to issues

   17    that Ralph Merrill raises.

   18               Second, your Honor, that's our -- we believe that's

   19    how it's best to be admissible.        This is also relating to the

   20    contract between AEY and Evdin.

   21               THE COURT:    Mr. Stirba?

   22               MR. STIRBA:     Yes, your Honor.     Thank you.

   23               I'd be somewhat repeating myself, but we don't believe

   24    Safavian allows for, essentially, the admissibility of

   25    documents such as this without adequate authentication of the
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     1   e-mail.    There's been no testimony about that particular

     2   address, who that is, who's sending it.

     3               Furthermore, the attachment -- we don't even know who

     4   created it.     We don't know when it was created.        We don't know

     5   anything about it, quite frankly, other than it says "Seller:

     6   MEICO" and some other language, "Buyer:         Evdin."    So it's

     7   hearsay and should not be admitted.

     8               THE COURT:   I'm going to overrule the objection.         I

     9   find that there's proper authentication pursuant to 901 for the

   10    admission of the e-mail, which begins with an original e-mail

   11    from Wednesday, April 11th, 2007, from Ralph Merrill.

   12                There has been identification through the testimony of

   13    Packouz of who Evdin was, and he identified Evdin as AEY's

   14    supplier.

   15                And, therefore, I find that the body of the e-mail

   16    that is not the statements of the Defendant, which would come

   17    in under 801(d)(2)(A), but the response from Evdin and the

   18    attachments come in under 801(d)(2)(D), statement by a party's

   19    agent during the course and existence of the agency

   20    relationship.

   21                And this is during the contract for the Afghanistan

   22    ammunition to be supplied by AEY through its supplier, Evdin.

   23                And that would relate to both 88 and 89.

   24                MR. SCHWARTZ:    And, I believe, 109 as well, your

   25    Honor.
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     1               THE COURT:    Well, talk to me about 89.      Oh.   Alex is

     2   who?   This is from AEY, Inc., to Merrill, AEY, David.

     3   "Forward:    Mr. Diveroli.       Backup Ukranian supplier."

     4               MR. SCHWARTZ:    Your Honor, with this, I believe --

     5               THE COURT:    It's just e-mail.

     6               MR. SCHWARTZ:    Right.

     7               I think, your Honor, this would go under the category

     8   we discussed.

     9               If we could go up to the top again, the page -- yeah.

   10                The date is April 11th of '07.       So this is -- would go

   11    to demonstrate -- and this is an e-mail from a Co-Defendant to

   12    Ralph Merrill regarding a forward -- with respect to suppliers

   13    for the contract, it would go, as we said before, to -- in that

   14    second category of statements of co-conspirators with respect

   15    to Merrill's involvement in the performance of the contract

   16    prior to the conspiracy period.        So we'd enter this in for

   17    nonhearsay purposes to show Merrill's involvement.

   18                THE COURT:    And inextricably intertwined?

   19                MR. SCHWARTZ:    Correct, your Honor.

   20                THE COURT:    Yes, Mr. Stirba.

   21                MR. STIRBA:    Your Honor, we didn't raise anything

   22    about 89 that I can see.

   23                THE COURT:    So you don't have an objection to it?

   24                MR. STIRBA:    No.    I think under the Court's prior

   25    ruling.    I might disagree with the Court's prior ruling, but
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     1   you've ruled on that.

     2              THE COURT:    Well, if you want to make an objection,

     3   make it now.

     4              MR. STIRBA:     All right.    I would object, your Honor,

     5   because --

     6              THE COURT:    On what grounds?

     7              MR. STIRBA:     On the grounds that I disagree that it's

     8   appropriate to admit it as co-conspirator/nonhearsay.           That's

     9   my ground.

   10               THE COURT:    I'm going to find that it's properly

   11    authenticated as it's a forward, which would -- it's a forward

   12    of correspondence that is being forwarded by AEY, Inc., to

   13    Ralph Merrill and AEY, Inc., David, which has been identified

   14    as David Packouz.      And so it's properly authenticated.

   15               As it's a forward, I find that it comes in under

   16    801(d)(2)(B) as an adoption.       And it's inextricably intertwined

   17    on April 11, 2007, regarding the quotes of the amounts of both

   18    quantity and price for ammunition and, as an alternative, would

   19    not be coming in for the truth of the matter asserted.

   20               And 109 was the other one you that raised?

   21               MR. SCHWARTZ:     It was 90 and 109, your Honor.

   22               THE COURT:    Let's look at 90.      Yes.

   23               For 90, same position?

   24               MR. SCHWARTZ:     Same position.

   25               THE COURT:    Anything further, Mr. Stirba?
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     1              MR. STIRBA:     No, your Honor.    Thank you.

     2              THE COURT:    On 90, I'm going to find that it's

     3   admissible.     It's properly authenticated pursuant to Rule 901

     4   with the identification of Evdinlimited@gmx.net and to Ralph

     5   Merrill, which has been identified -- I believe it was EM 37 or

     6   38 or 39 that identifies Ralph Merrill's e-mail address with a

     7   "cc" to aeyinc@gmail.com, which has been identified by Packouz

     8   as either belonging to him or later was taken over by Efraim

     9   Diveroli at AEY.     The subject is "The Albanian shipping

   10    response."

   11               I find that the statements -- the original e-mail,

   12    which is from Ralph Merrill, comes in under 801(d)(2)(A) and

   13    that the statements by Evdin in the response to Ralph Merrill

   14    come in under 801(d)(2)(D), as these are statements by AEY and

   15    Ralph Merrill's agent during the course of the existence of the

   16    agency relationship regarding shipping and the crates for the

   17    shipment of ammunition from Albania to Afghanistan.

   18               Let's look at 94 before we go to 109.

   19               MR. SCHWARTZ:     Your Honor, with respect to this

   20    e-mail, it's authored by Kim Jones from the US Army Sustainment

   21    Command.     We won't proceed on this e-mail with this current

   22    witness.     We'll wait until Ms. Jones testifies.

   23               THE COURT:    Okay.    109.

   24               MR. SCHWARTZ:     Based on the dates and that it's from

   25    Evdin regarding payments made by Ralph Merrill, I believe it
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     1   falls under the same 801(d)(2)(D) as an agency relationship.

     2              THE COURT:    Anything further, Mr. Stirba?

     3              MR. STIRBA:     No, your Honor.    I think I've made our

     4   position clear.

     5              THE COURT:    So I find that it's properly authenticated

     6   pursuant to Rule 901.      There's an original e-mail from David

     7   Packouz to Henri and Ylli with a "cc" to Ralph Merrill and AEY,

     8   Inc.

     9              That portion of the e-mail would come in under

   10    801(d)(2)(D) and the response from Evdin would also come in

   11    under 801(d)(2)(D).

   12               127.

   13               Is this 127 up here?

   14               MR. SCHWARTZ:     Yes, your Honor.

   15               Your Honor, we would say this would fall under as

   16    being an adoption because in the -- I think in the following

   17    e-mail, in EM 128, it's then forwarded by aeyinc@gmail to --

   18    it's from Efraim Diveroli to David Packouz and, also, forwarded

   19    to Ralph Merrill as well.

   20               It's an earlier part of the chain -- it's just an

   21    earlier part of an e-mail chain that would be included as an

   22    adoption, which I believe is -- if we can go to 129, that would

   23    clarify that.

   24               If you go on the screen now, your Honor, we have 129,

   25    which is --
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     1              THE COURT:    Let me get it.

     2              127 is the first one and then 129?

     3              MR. SCHWARTZ:     Well, your Honor, if you look at 129,

     4   which is on the screen now, it's the identical e-mail of 127,

     5   just forwarded to Ralph Merrill.        So we believe it's just an

     6   earlier part of a chain.        It's just to show an adoption.

     7              To be honest, your Honor, if 129 has already been

     8   admitted and that's not really at issue here, then, we don't

     9   really need 127.

   10               But we did want to show it for the purpose that it was

   11    e-mailed to Ralph Merrill one minute after Efraim Diveroli

   12    received that response.       That was our purpose.

   13               THE COURT:    Yes.    Mr. Stirba?    127 and 129.

   14               MR. STIRBA:     127 is an authentication question with

   15    respect to the e-mail.      There's nothing to indicate who Amy

   16    Westling is and that she's the purported sender, if that's the

   17    representation.

   18               With respect to 129, you may forward something and,

   19    obviously, the forward is to an e-mail account and to a person

   20    that we're familiar with, based upon the evidence.

   21               But it still suffers from the same problem.          You're

   22    just forwarding an e-mail that has not otherwise been properly

   23    authenticated and, therefore, not admissible.

   24               THE COURT:    Other than authentication, do you have an

   25    objection to it?
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     1               MR. STIRBA:    You know, it's hearsay in terms of the

     2   opinion that is expressed as well, your Honor.

     3               THE COURT:    I'm going to find that it's properly

     4   authenticated in 129 from aeyinc@gmail.com to Ralph Merrill,

     5   both of which have been identified through testimony by David

     6   Packouz as to being the e-mail addresses that related to AEY,

     7   Inc., either himself or Diveroli, and Ralph Merrill as Ralph

     8   Merrill's e-mail, including the admission of the e-mail which

     9   directly relates to Ralph Merrill's actual e-mail address and

   10    the way that the e-mails are addressed to him at that address,

   11    which is Ralph Merrill.

   12                This is a forwarded e-mail of a response to Diveroli

   13    from Amy P. Westling from the US Department of State to his

   14    question.    And as that forward, I find that it is an adoption

   15    pursuant to 801(d)(2)(B) and, alternatively, it is not coming

   16    in for the truth of the matter asserted, but this is the

   17    response that was received from Westling.

   18                So it's adopted as being the response that's

   19    forwarded.    And it's not coming in for the truth of the matter

   20    asserted.

   21                Yes.   The next would be -- so, then, you're not going

   22    to seek to introduce 127.       Correct?

   23                MR. SCHWARTZ:    Well, your Honor, we would like to,

   24    just to -- for the sole purpose to show that a minute after the

   25    response is received it's sent to Ralph Merrill.
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     1              And, your Honor, just to point for purposes -- it

     2   wouldn't come in for the truth of the matter asserted itself,

     3   but we think it's properly authenticated based on the case law

     4   that defense counsel has been referring to.

     5              It has the individual -- Amy P. Westling's name in the

     6   "From" category.     There is a signature block listing her full

     7   name and position and a previous chain which shows that she's

     8   responding to a question from Mr. -- actually, I don't think

     9   that actually is included in this one.         But under the case law,

   10    we believe that's sufficient to authenticate it.

   11               I think defense's arguments with respect to

   12    authentication go to weight, not to the admissibility, and that

   13    threshold determination.

   14               THE COURT:    I'll admit 127, based upon the admission

   15    of 128, wherein AEY and Diveroli accepted it as an authentic

   16    e-mail and then forwarded it on to Ralph Merrill.           And so it

   17    does not come in for the truth of the matter asserted.

   18               The next one is 132.

   19               MR. SCHWARTZ:     Your Honor, I think the same analysis

   20    we went through on the previous chain applies here.           On the

   21    bottom half of this e-mail, it's a question from Efraim

   22    Diveroli in response to the previous response he received from

   23    the Department of State, that he has one more question.

   24               On this one, if you go to the top, it's another

   25    individual from the Department of State -- well, it's
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     1   Stephen M. Geis and it's listed as "Steve Geis, Response Team."

     2               Again, I think within -- within minutes, this is

     3   forwarded to Ralph Merrill -- or, in fact, actually, in a

     4   response from Efraim Diveroli in the next exhibit, 133, Efraim

     5   Diveroli files another response to Stephen Geis's -- asks

     6   another question based upon Stephen Geis's response and

     7   includes Merrill as a "cc" on this.

     8               So we'd go under the same principles as we've

     9   discussed before.

   10                THE COURT:    Mr. Stirba?

   11                MR. STIRBA:    Your Honor, I have nothing further to add

   12    to the arguments on 127 and 128 as it would relate to this

   13    particular exhibit.

   14                THE COURT:    I think we're on 132 and 133.

   15                MR. STIRBA:    Right.    I was just referring --

   16                THE COURT:    Oh.   You're referring back to the

   17    argument.    Okay.

   18                MR. STIRBA:    Yeah.    I was saying I made the arguments

   19    there that are applicable here.

   20                THE COURT:    I understand.    Okay.

   21                So 132 and 133 are both admissible.        I find that they

   22    are authenticated based upon Diveroli's request to the response

   23    team -- or further request to the response team.

   24                First, we have the Amy Westling response, which was

   25    previously admitted.      This is a chain e-mail.      Then Diveroli
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     1   writes again to the response team with one more question.            And

     2   then the top portion of 132 is the response team's response

     3   through Stephen Geis.

     4              So 132 would be admissible, and it's not coming --

     5   well, the statements by Diveroli would come in as 801(d)(2)(A),

     6   and the statements by Geis would not be coming in for the truth

     7   of the matter asserted.

     8              Is 134 part of this chain?

     9              MR. SCHWARTZ:     Yes, your Honor.

   10               THE COURT:    So 134 would be the same analysis.        It's a

   11    further response by Stephen Geis, not coming in for the truth

   12    of the matter asserted.       And the statements by Diveroli would

   13    come in under Rule 801(d)(2)(A) and (D) -- actually, it would

   14    be (D) for all of these because Diveroli is the agent of

   15    Merrill.

   16               It would also come in under 801(d)(2)(E) as statements

   17    by a conspirator during and in furtherance of the conspiracy.

   18    This is the beginning of the exploration of trying to convince,

   19    according to the Government's theory, those persons at the

   20    Department of State and the US Government to accept the Chinese

   21    ammunition in Albania.

   22               And that would apply to the other exhibits as well,

   23    127 and 132.

   24               205.   Oh.   This is the one from the Major.

   25               Yes.
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     1              MR. SCHWARTZ:     Your Honor, we wouldn't be entering

     2   this in for the truth of the matter asserted.          Instead, it

     3   would go to show David Packouz's knowledge about issues with

     4   respect to delivery concerns.

     5              THE COURT:    Is he going to be testifying about this?

     6   Packouz.

     7              MR. TAMEN:    Which number is that?

     8              THE COURT:    205.    I don't think it was on your list.

     9              MR. TAMEN:    I don't believe he will.

   10               THE COURT:    Mr. Stirba?

   11               MR. STIRBA:     Yes, your Honor.

   12               I would point out, on this one, the evidence will show

   13    that Mr. Packouz was no longer employed at AEY on August 28 of

   14    2007.

   15               Other than that, there's no other witness that I --

   16    that's on anybody's witness list that's going to testify at all

   17    about this particular exhibit.

   18               Plus, I would interpose a relevancy objection, in any

   19    event, as to the content of the e-mail.

   20               THE COURT:    What is the relevancy of this?

   21               MR. SCHWARTZ:     Your Honor, we'll withdraw the exhibit.

   22               THE COURT:    Okay.    We have 18 and 125.

   23               MR. SCHWARTZ:     Your Honor, I think this -- 18 would go

   24    back to -- this is a forward from Efraim Diveroli to Ralph

   25    Merrill concerning -- from Ryan Larrison at the US Army.             It
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     1   references a mistake in the proposal.

     2              Your Honor, this would just -- it wouldn't be entered

     3   for the truth of the matter asserted.         It would go under that

     4   second category, demonstrating communications to show Merrill's

     5   involvement with stages of the solicitation in obtaining the

     6   contract to supply ammunition in Afghanistan.

     7              THE COURT:    Yes, Mr. Stirba.

     8              MR. STIRBA:     Your Honor, this particular document,

     9   given the Court's ruling and what the Court has said about the

   10    nature of the --

   11               THE COURT:    I can't hear you, sir.

   12               MR. STIRBA:     I apologize.

   13               Given the Court's ruling of the nature of the

   14    foundational requisites that your Honor has already ruled --

   15    and I apologize for not speaking into the microphone -- we -- I

   16    would have nothing further to advance in terms of our

   17    objection.

   18               THE COURT:    I'm going to find that EM 25 is properly

   19    authenticated.

   20               MR. SCHWARTZ:     18, your Honor?

   21               THE COURT:    I'm sorry.    I'm looking at 25.

   22               18 has been properly authenticated through e-mails,

   23    evidence in the record and testimony as to aeyinc@gmail.com,

   24    the testimony of Packouz as to who that e-mail address belonged

   25    to and Ralph Merrill through the admission of e-mail -- I
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     1   believe it's 37 -- as well as the testimony of Packouz as to

     2   his e-mail identification and the body of this e-mail.

     3               This is a forwarded letter concerning the

     4   solicitation.       It's not coming in for the truth of the matter

     5   asserted.

     6               Okay.    It's 125, last one.

     7               MR. SCHWARTZ:    Your Honor, this e-mail is a

     8   back-and-forth between Efraim Diveroli, Kim Jones, a Brett

     9   Luchsinger and David Packouz with respect to certificates of

   10    conformance.

   11                We think this would -- would come in just to -- first

   12    of all, the statements of Packouz and Efraim Diveroli would

   13    come in as co-conspirators' statements.

   14                The discussion we think will properly -- will -- if

   15    the Court would like, we could reserve to rule on this prior

   16    to -- once Mr. Tamen asks David Packouz about this

   17    correspondence, it will maybe become more clear of the

   18    admission of this either as -- as nonhearsay and just go to the

   19    knowledge of the co-conspirators and perhaps an adoption.

   20                THE COURT:    This is an area that's going to be gone

   21    into with Mr. Packouz?

   22                MR. SCHWARTZ:    Yes, your Honor.     This relates to

   23    certificates of conformance.

   24                THE COURT:    All right.   So I'll reserve on that.

   25                Those are the remaining e-mails that I have from
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     1   Mr. Stirba's e-mail.

     2              Is that correct, Mr. Stirba?

     3              MR. STIRBA:     Yes, your Honor.     Thank you.

     4              THE COURT:    I am going to continue to just review

     5   every e-mail on Sunday.

     6              For those of you observing the holiday, have an easy

     7   fast.    I'll see you Tuesday morning, 9:00.        We're in recess.

     8              MR. STIRBA:     Thank you, your Honor.

     9              MR. SCHWARTZ:     Thank you, your Honor.      You, too.

   10               Your Honor, one quick question with respect to the

   11    scheduling.

   12               I know that you mentioned -- I think it was on

   13    Wednesday -- about possibly holding a Daubert hearing next

   14    week.

   15               THE COURT:    Oh, yes.

   16               MR. SCHWARTZ:     We have to -- we're anticipating flying

   17    in our expert, Dr. Chueng, from California.          But just to get an

   18    idea of when --

   19               THE COURT:    Well, we can do it Wednesday or Thursday.

   20    I have -- Thursday I need to break by around 12:00 and

   21    Wednesday I need to break by 1:00.

   22               MR. SCHWARTZ:     Wednesday would be the preference of

   23    the Government, your Honor.

   24               THE COURT:    How is Wednesday for you and your expert

   25    or experts?
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     1              MR. STIRBA:     I cannot address that precisely.

     2              One is obviously located here, but one is up in DC, if

     3   we're talking about the Chinese experts.         I haven't checked

     4   with the fellow in DC yet because I didn't know precisely when

     5   this was going to be.

     6              But, in any event, if that's what we have to do, we'll

     7   plan on it, unless there's some huge problem.          And I'll let the

     8   Court know.

     9              THE COURT:    So we'll plan on, then, Wednesday morning

   10    for the Daubert hearing, at least of Chueng.

   11               MR. SCHWARTZ:     Yes, your Honor.

   12               THE COURT:    And possibly Dreyer and -- how does he

   13    pronounce his name?

   14               MR. CRANE:    "Takcik."

   15               THE COURT:    "Takcik."

   16               MR. CRANE:    "Takcik."    Yes.

   17               THE COURT:    So the "k" is silent.

   18               MR. CRANE:    Yes.

   19               THE COURT:    Okay.    I wasn't sure which was silent.       I

   20    knew something had to be silent there, but I wasn't sure which

   21    one.

   22               Okay.    Thank you.    We're in recess.

   23               MR. SCHWARTZ:     Thank you, your Honor.

   24               MR. STIRBA:     Thank you.

   25               (End of requested excerpt.)
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     1

     2                            C E R T I F I C A T E

     3

     4               I hereby certify that the foregoing is an accurate

     5   transcription of the proceedings in the above-entitled matter.

     6

     7

     8   ____________            /s/Lisa Edwards_____
             DATE                LISA EDWARDS, CRR, RMR
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